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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division
                                  www.flsb.uscourts.gov

In re:                                                        Chapter 11

SHIFTPIXY, INC.,                                              Case No. 24-21209-LMI

         Debtor.
                                        /

                       NOTICE OF APPEARANCE AND REQUEST FOR
                         SERVICE OF ALL NOTICES AND PAPERS

         Pursuant to Rule 9010(b) of the Federal Rules of Bankruptcy Procedure, Eyal Berger, Esq.

of Akerman LLP, hereby gives notice of his entry of appearance as counsel on behalf of creditor,

SUNZ INSURANCE SOLUTIONS, LLC ("SUNZ"), and requests all notices, pleadings,

motions, applications, and other documents filed and/or served in this bankruptcy proceeding be

sent to the following address:

                                 Eyal Berger, Esq.
                                 AKERMAN LLP
                                 201 E. Las Olas Blvd., Suite 1800
                                 Fort Lauderdale, Florida 33301
                                 Telephone (954) 463-2700
                                 Facsimile (954) 463-2224
                                 Email: eyal.berger@akerman.com


         Nothing in this Notice is intended to or shall be construed as a waiver by SUNZ of any

objections to the Court's exercise of personal or subject matter jurisdiction herein or in any related

matters or proceedings. Nor shall this appearance be deemed as a consent to the Court exercising

jurisdiction over SUNZ or any real or personal or other property owned or controlled by SUNZ.

         Furthermore, neither this Notice nor any subsequent appearance, pleading, claim, or suit is

intended to waive: (i) SUNZ's right to have final orders in non-core matters entered only after de

novo review by a district judge; (ii) SUNZ's right to trial by jury in any proceedings so triable


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herein or in any case, controversy, or proceeding related hereto; (iii) SUNZ's right to have the

reference withdrawn by the District Court in any matter subject to mandatory or discretionary

withdrawal; or (iv) any other rights claims, actions, defenses, setoffs, or recoupments to which

SUNZ is or may be entitled to under agreements, in law, or in equity, all of which rights, claims,

actions, defenses, setoffs, and recoupments SUNZ expressly reserves.

Dated: November 20, 2024                        Respectfully submitted,

                                                By: /s/ Eyal Berger
                                                Eyal Berger, Esq.
                                                Florida Bar No: 011069
                                                eyal.berger@akerman.com
                                                AKERMAN LLP
                                                201 E. Las Olas Blvd., Suite 1800
                                                Fort Lauderdale, Florida 33301
                                                Tel: (954) 463-2700
                                                Fax: (954) 463-2224
                                                Counsel for Sunz Insurance Solutions, LLC




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 20, 2024, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served on this day by transmission of Notices of Electronic Filing generated by CM/ECF

to those parties registered to receive electronic notices of filing in this case.


                                           /s/ Eyal Berger
                                           Eyal Berger, Esq.




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